8:08-cr-00355-RFR-MDN         Doc # 80   Filed: 04/24/09     Page 1 of 1 - Page ID # 223




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:08CR355
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                   ORDER
                                             )
LESTINA BELTRAN,                             )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s unopposed motion to continue

sentencing (Filing No. 78).

       The stated reason for the request to continue sentencing is “for completion of

additional research and preparation.” (Filing No. 78.) However, the defense complied with

the deadline set out in paragraph 6 of the Order on Sentencing Schedule, April 23, 2009.

Therefore, it appears that necessary research and preparation has been completed.

       IT IS ORDERED that the Defendant’s unopposed motion to continue sentencing

(Filing No. 78) is denied.

       DATED this 24th day of April, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
